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                                 FORBEARANCE AGREEMENT

        This Forbearance Agreement is entered into this 27 11, day of July 2021 (the ··EtTective
Date"') by and between SMS Financial NCU. LLC ("'SMS"). an Arizona limited liability company.
having its principal place of business at 3707 E. Shea Blvd .. Suite I00. Phoenix. Arizona 85028.
and Zdenko Zovkic. an individual residing at 4240 Giles Road. Chagrin Falls. Ohio 44022
(Debtor"").

        WHEREAS. National Credit Union Administration Board. acting in its capacity as
Liquidating Agent of St. Paul Croatian Federal Credit Union ("L iquidating Agent'' and/or
"Assignor"). brought suit against Debtor in the case captioned National Credit Union
Administration Board, acling in its capacity as liquidating Agent of St. Paul Croatian Federal
Credit Union v. Zelenko Zovkic:, el al., United States District Court, Northern District of Ohio. Case
No. I: 13-CY-00 I 146: and.

      WHEREAS. Liquidating Agent and Debtor entered into that certain Sett lement Agreement
and Mutual Release dated effective as of May 23 , 20 14; and,

         WHEREAS, SMS Financial NCU. LLC, is the Assignee of the Liquidating Agent/Assignor
of that ce11ain Settlement Agreement and Mutual Release dated effective as of May 23. 2014;

        WHEREAS, pursuant to the Settlement Agreement. the amount clue and owing by Debtor
to SMS as of July 27. 2021, is $ 1, 164.673. 14, which is comprised of principal of $1,154,316.36.
plus interest accruing at the rate of I% per annum in the amount of $ 10,356.78 (the '·Total
Balance'"); and.

         WHEREAS, Debtor acknowledges that SMS (i) has acquired the loan documents that arc
the subject of the Settlement Agreement from the Liquidating Agent (the " Loan Documents''). and
tii) holds valid title to all rights and interests relating 10 the Loan Documents and the Settlement
Agreement which remain in f'ull force and effect.

       WHEREAS, Debtor defaulted on its obl igations under the Settlement Agreement and the
Loan Documents by failing to make payment when due under the Settlement Agreement and the
Loan Documents (the "Existing Defaults"). The Existing Defaults have not been cured and arc
continuing.

         WHEREAS, Debtor has requested that SMS forbear from exercising its rights and remedies
under the Loan Documents and the Settlement Agreement with respect to the Existing Defaults.
and SMS has agreed. subject to and in accordance with the Lerms and conditions set forth in this
Agreement. To the extent that the parties agree herein Lo revise the terms and conditions of the
Loan Documents and the Settlement Agreement, this Agreement shall be deemed an amendment
thereto.

       NOW THEREFORE. in consideration of the mutual promises and conditions herein
contained and for good and valuable consideration. the receipt and sufticiency or which is hereby
acknowledged, the parties covenant and agree as follows:


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         1.     Existing Defaults. Debtor acknowledges and agrees that SMS currently has the
right to exercise rights and remedies under the Settlement Agreement and the Loan Documents, at
law and/or in equity, as SMS, in its sole discretion, deems necessary. Debtor has no defenses to
the Existing Defaults, and/or any other events of default that may exist under the Loan Documents
or the Settlement Agreement or the Lender's exercise of any right or remedy under the Loan
Documents or the Settlement Agreement.

         2.     Forbearance: So long as no New Event of Default (as defined below) occurs, SMS
shall forbear from exercising any of its rights and remedies under the Loan Documents or the
Settlement Agreement with respect to the Existing Defaults until 5:00 p.m., MST October 1, 2022
(the "Forbearance Period") at which time all remaining principal, interest and fees (if any) are due
in full.

         3.     Payment Obligations: Commencing on November 1, 2021, Debtor shall make the
first of twelve monthly payments in the amount of $1,708.33 per month. These payments shall be
due on or before the first day of each consecutive month from November 1, 2021 through October
1, 2022. A final payment equal to all unpaid principal and accrued interest shall be due on
November 1, 2022. All payments are applied first to outstanding interest, then costs and fees (if
any), and then to principal.

       4. New Events of Default:

       The occurrence of any of the following shall constitute a "New Event of Default" under
this Agreement:

       (a)     Borrower shall fail to make any payment due pursuant to Section 4 of this
               Agreement within ten ( l 0) calendar days of the established due date.

        (b)    Borrower shall fail to perform any covenant or satisfy any condition under this
               Agreement or those previously established in the Loan Documents including, but
               not limited to, paying current the property taxes and insurance premium on any
               property that is collateral for the Note.

        5.      Remedies Upon A New Event Of Default: Upon the occurrence of any New Event
of Default hereunder, Lender shall have the right, without notice, to do any or all of the following:
(i) impose a default rate of interest increase in the amount of 5.0% above the interest rate forth in
Section 3, (ii) terminate this Agreement and accelerate the Total Balance due under the Loan
Documents and the Settlement Agreement, (iii) charge a late fee on any payments 10 days beyond
their scheduled due date equal to 5.000% of the unpaid portion of the payment, (iv) exercise any
and all other rights and remedies provided under the Loan Documents, the Settlement Agreement,
or this Agreement, or otherwise provided by law or in equity, and (v) obtain entry of a stipulated
judgment, a copy of which is attached hereto as Exhibit A. Lender may exercise any or all of the
foregoing rights and remedies in any order.

       6.      Debtor Acknowledgement: As an inducement to enter into this Agreement, Debtor
hereby acknowledges and agrees that all of the Recitals to this Agreement, and all of the
representations and warranties of Debtor set forth in this Agreement, are true and accurate, and set

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forth an accurate description of the Loan Documents, the Settlement Agreement, and the Total
Balance as of the Effective Date. Debtor acknowledges he has no defenses to the Loan Documents,
the Settlement Agreement, or enforcement thereof. Debtor acknowledge that SMS may exercise
rights and remedies directly against Debtor in such order as SMS detennines in its sole and
absolute discretion.

        7.     No Waiver: Notwithstanding the preceding grant of forbearance, Debtor
understands, acknowledges and agrees that SMS has not waived the Existing Defaults, the Loan
Documents and the Settlement Agreement will remain in default throughout the Forbearance
Period, and the Forbearance Period will expire automatically and without notice immediately upon
the occurrence of a New Event of Default, other than the Existing Defaults, or upon the expiration
of the Forbearance Period.

       8.     No Other Modifications Or Amendments: Except as expressly set forth in this
Agreement, all other terms, conditions and covenants under the Loan Documents remain
unmodified and are in full force and effect. In the event of any conflict between this Agreement
and the Loan Documents, the terms of this Agreement shall govern and take precedence over the
terms of the Loan Documents. Any other modifications or amendments of the Note or Loan
Documents must be in writing and signed by both parties.

        9.       Release of Claims: Debtor fully, finally, and forever release and discharge the
Liquidating Agent, its predecessors, SMS, its successors and assigns, its predecessors in interest,
and all of the members, managers, directors, officers, employees, agents, and representatives
thereof (all of the foregoing, collectively, the "Lender Parties"), for, from and against any and all
actions, causes of action, claims, debts, demands, liabilities, obligations, and suits of whatever
nature known or unknown, (i) in respect of the Loan Documents, the Settlement Agreement or the
actions or omissions of any of the Lender Parties in respect of the Loan Documents or the
Settlement Agreement and (ii) arising from events occurring prior to the date of this Agreement.
Debtor hereby waives any defenses related thereto. Debtor expressly acknowledges, represents,
warrants and agrees that as ofthe date of this Agreement, he has no cause of action or claim of any
nature whatsoever against the Lender Parties (i) in respect of the Loan Documents or the
Settlement Agreement, or the actions or omissions of any of the Lender Parties in respect of the
Loan Documents or the Settlement Agreement and (ii) arising from events occurring prior to the
date of this Agreement.

       10.     Time is of the Essence. The Parties further acknowledge that TIME IS OF THE
ESSENCE with respect to the time for performance of the terms and provisions of this
Forbearance Agreement. None of the Parties shall be given any grace period within which to cure
any default or breach under this Forbearance Agreement, unless expressly provided herein.

    11.  JURY TRIAL. THE PARTIES TO THIS FORBEARANCE AGREEMENT
HEREBY WAIVE TRIAL BY JURY IN ANY ACTION, PROCEEDING, OR
COUNTERCLAIM BROUGHT BY ANY PARTY AGAINST ANOTHER ON ANY
MATTERS WHATSOEVER ARISING UNDER OR IN CONNECTION WITH Tms
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AGREEMENT AND SHALL TAKE ALL APPROPRIATE STEPS TO IMPLEMENT
THAT WAIVER.

        12.    Notices. Any notice, demand or communication required or permitted to be given
by any provision of this Forbearance Agreement will be in writing and will be deemed to have
been given when delivered personally or by facsimile, receipt confirmed, to the party designated
to receive such notice, or on the date following the day sent by overnight courier, or 48 hours after
the same is sent by certified mail, postage and charges prepaid, directed to the following addresses
or to such other or additional addresses as any party might designate by written notice to the other
party:

               lfto SMS:

                                SMS Financial NCU, LLC
                                Attention: Dan Grober
                                3707 E. Shea Blvd., Suite 100
                                Phoenix, Arizona 85014
                                Phone: Office #602-944-0624
                                Toll Free #800-644-0624 Ext #222

               With a copy to:

                                David M. Cuppage
                                McCarthy, Lebit, Crystal & Liffman Co., LPA
                                1111 Superior A venue East, Suite 2700
                                Cleveland, OH 44114
                                Phone: 216.696.1422

                If to Debtor:

                                Mr. Zdenko Zovkic
                                4240 Giles Rd
                                Chagrin Falls, OH 44022

                With a copy to:

                                 Synenberg & Associates, LLC
                                 55 Public Square, Suite 1331
                                 Cleveland, Ohio 44113
                                 Telephone: (216) 622-2727
                                 Mobile: (216) 570-5477
                                 Fax: (216) 622-2707

       13.     Electronic Signature. This Forbearance Agreement together with any document
 contemplated to be executed in connection herewith may be executed by electronic signature, and



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any such electronic document shall be deemed to be of the same force and effect as a manually
signed original.

        14.     Jurisdiction. This Agreement shall be construed in accordance with and governed
by the internal laws of the State of Ohio and any action to enforce the terms and conditions or
declare the rights and obligations of the parties herein shall be brought exclusively in the United
States District Court, Northern District of Ohio.

               IN WITNESS WHEREOF, the parties have executed this Agreement effective on
this 27th day of July, 2021.


WITNESSES:


                                                     Zdenko Zovkic



WITNESSES:                                           SMS Financial NCU, LLC
                                                     By:   SMS Financial, LLC, Its Manager


                                                     By:
                                                             Jonathan D. Hoffer, Its Manager




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                         IN THE UN ITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO

 SMS FINANCIAL 30. LLC                        )    CASENUMBER: l:13-CY-001146
 6829 North 12th Street                       )
 Phoenix. Arizona 85014                      )
                                             )     .JUDGE DAN AARON POLSTER
                        Plaintiff.            )
 vs.                                         )
                                             )
 ZDENKO ZOVKIC                               )     STIPULATED JUDG1VIENT
 4240 Giles Road                              )
 Chagrin Falls. Ohio 44022-1391               )
                                              )
                                              )
                        Defendant.            )

       Upon agrcemenl and consenl or the parlies, Plaintiff SMS Financial 30. LLC is awarded

judgment against Defendant Zdenko Zovkic. in the total amount of £I , 164,673.14. which is

comprised of principal or $1.154.316.36. plus interest accruing at the rate of I% per annum in the

amount of$ I 0,356.78 (the ·'Total Balance''). as of July 27, 2021. Interest, late fees and other fees

and costs shall accrue in accordance with the Forbearance Agreement entered into by Plainti[Tand

Defendant.

        IT IS SO ORDERED.


                                                       Judge Dan Aaron Polster

Agreed to by and between the Parties:

SMS Financial 30. LLC                                  Zelenko Zovkic


!SI David M. Czmpa"e
David M. Cuppage (0047104)                             Roger M. Synenberg
Adam L. Glassman (0098730)                             Synenberg & Associates, LLC
McCarthy Lebit Crystal & Li1fo1an Co. LPA              55 Public Square, Suite 1331
 IO I W. Prospect Ave .. Suite 1800                    Cleveland, Ohio 44113
Cleveland. OH 44115                                    rsrncnber!.!@ao I.com
(2 16) 696- 1422 - Telephone                           Couns~I for Defendant

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                    any such eleC?"onic documentshall be deemed to be of the same force and effect as a manually
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                            l4.     Jurisdiction. This Agreement shall'be.construed in-accordance with and governed
                    by the internal Jaws of the State of Ohio and any action to enforce the terms and con4itions or
                    declare the rights and obligations of the parties herein shall be brought exclusively in the Unite4
                    States District Court, Northern District of Ohio.

                                  IN WITNESS WHEREOF, the parties have executed this Agreement effective on
                   this 27th day of July, 2021.


                   WITNESSES:

                        2O.~ t
                      LlJ"A.                Q__



                       ~~
                                                                         Zdcnko Zovkic



                   WITNESSES;                                            SMS Financial NCU, LLC



                                        '~ /\j
                                                                         By:   SMS Finandal, LLC, Its Manager


                                                                         By                          ~
                                                                                Jonathan. pC'ofriitsMan?ger




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      any such electronic document shall be deemed to be of the same force and effect as a manually
      signed original.

              14.     Jurisdiction. This Agreement shall be construed in accordance with and governed
      by the internal laws of the State of Ohio and any action to enforce the terms and conditions or
      declare the rights and obligations of the panics herein shall be brought exclusively in the United
      States District Court, Northern District of Ohio.

                     IN WITNESS WHEREOF, the parties have executed this Agreement effective on
      this 27th day of July, 2021 .


     WITNESSES:
        LlSA Zov~lQ__
                                                           Zdenko Zovlcic




     WITNESSES:                                            SMS Financial NCU, LLC
                                                           By:   SMS Financial, LLC, Its Manager


                                                           By:
                                                                  Jonathan D. Hoffer, Its Manager




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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE NOR1HERN DISTRlCT OF omo

     SMS FINANCIAL 30, LLC                            )   CASE NUMBER: 1:13-CV-001146
     6829 North 12111 Street                          )
     Phoenix, Arizona 85014                           )
                                                      )   JUDGE DAN AARON POLSTER
                           Plaintiff,                 )
     vs.                                              )
                                                      )
     ZDENKO ZOVKJC                                    )   STIPULATEDJUDGMENT
     4240 Giles Road                                  )
     Chagrin Falls, Ohio 44022-1391                   )
                                                      )
                                                      )
                           Defendant.                 )

           Upon agreement and consent of the parties, Plaintiff SMS Financial 30, LLC is awarded

    judgment against Defendant Zdenko Zovkic, in the total amount of $1, 164,673.14, which is

    comprised of principal of $1,154,316.36, plus interest accruing at the rate of 1% per annum in the

    amount of $10,356.78 (the "Total Balance"), as of July 27, 2021. Interest, late fees and other fees

    and costs shall accrue in accordance with the Forbearance Agreement entered into by Plaintiff and

    Defendant.

           IT IS SO ORDERED.


                                                            Judge Dan Aaron Polster

    Agreed to by and between the Parties:

    SMS Financial 30, LLC


    ISi David M Cuppage
    David M. Cuppage (0047104)                              Roger .       yne
    Adam L. Glassman (0098730)                              Synenberg & Associates, LLC
    McCarthy Lebit Crystal & Liffman Co, LPA                55 Public Square, Suite 1331
    101 W. P rospect Ave., Suite 1800                       Cleveland, Ohio 44113
    Cleveland, OH 44115                                     rsynenberg@nol.com
    (216) 696-1422-Telephone                                Counsel for Defendant

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